      Case: 1:23-cv-05874 Document #: 36 Filed: 09/26/23 Page 1 of 12 PageID #:1654




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

TOYOTA MOTOR SALES, U.S.A., INC.,
                                                          Case No. 23-cv-05874
                  Plaintiff,
v.                                                        Judge Jeremy C. Daniel

THE PARTNERSHIPS and                                      Magistrate Judge M. David Weisman
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

                   Defendants.


                               PRELIMINARY INJUNCTION ORDER

          THIS CAUSE being before the Court on Plaintiff Toyota Motor Sales, U.S.A., Inc.’s

(“Toyota” or “Plaintiff”) Motion for Entry of a Preliminary Injunction, and this Court having heard

the evidence before it hereby GRANTS Plaintiff’s Motion for Entry of a Preliminary Injunction in

its entirety against the fully interactive e-commerce stores 1 operating under the seller aliases

identified on Schedule A attached hereto (collectively, the “Seller Aliases”).

          This Court further finds that it has personal jurisdiction over the Defendants since the

Defendants directly target their business activities towards consumers in the United States,

including Illinois. Specifically, Defendants have targeted sales to Illinois residents by setting up

and operating e-commerce stores that target United States consumers using one or more Seller

Aliases, offer shipping to the United States, including Illinois, accept payment in U.S. dollars

and/or funds from U.S. bank accounts, and have sold products using infringing and counterfeit

versions of the federally registered Toyota trademarks (the “TOYOTA Trademarks”). A list of

TOYOTA Trademarks is included in the below chart.


1
    The e-commerce store urls are listed on Schedule A hereto under the Online Marketplaces.
                                                     1
Case: 1:23-cv-05874 Document #: 36 Filed: 09/26/23 Page 2 of 12 PageID #:1655




    Registration No.                            Trademark



        1,797,716




         843,138
        1,589,552                                TOYOTA
        1,721,365
        2,115,623
        1,262,925                                CAMRY

        5,256,854                                  C-HR

        867,434

        2,249,838                             HIGHLANDER
        2,590,587                            LAND CRUISER
        2,485,614                                 PRIUS
        2,171,261                                 RAV4
        1,854,126                               4RUNNER
        2,462,106                               SEQUOIA
        2,145,102                                SIENNA
        5,932,399                                 SUPRA
        2,650,486                                TACOMA
        3,247,860                                TUNDRA
        3,159,930                                 YARIS
        2,823,668                                  TRD
        1,574,718                                 LEXUS
        5,810,473


        1,834,147




                                     2
   Case: 1:23-cv-05874 Document #: 36 Filed: 09/26/23 Page 3 of 12 PageID #:1656




             2,852,290




             3,805,350




             5,803,480



             5,868,865                                  CRAFTED FOR LEXUS




             6,938,649




       THIS COURT FURTHER FINDS that injunctive relief previously granted in the

Temporary Restraining Order (“TRO”) should remain in place through the pendency of this

litigation and that issuing this Preliminary Injunction is warranted under Federal Rule of Civil

Procedure 65. Evidence submitted in support of this Motion and in support of Toyota’s previously

granted Motion for Entry of a Temporary Restraining Order establishes that Toyota has

demonstrated a likelihood of success on the merits; that no remedy at law exists; and that Toyota

will suffer irreparable harm if the injunction is not granted.




                                                  3
     Case: 1:23-cv-05874 Document #: 36 Filed: 09/26/23 Page 4 of 12 PageID #:1657




        Specifically, Toyota has proved a prima facie case of trademark infringement because (1)

the TOYOTA Trademarks are distinctive marks and are registered with the U.S. Patent and

Trademark Office on the Principal Register, (2) Defendants are not licensed or authorized to use

any of the TOYOTA Trademarks, and (3) Defendants’ use of the TOYOTA Trademarks is causing

a likelihood of confusion as to the origin or sponsorship of Defendants’ products with Toyota.

Furthermore, Defendants’ continued and unauthorized use of the TOYOTA Trademarks

irreparably harms Toyota through diminished goodwill and brand confidence, damage to Toyota’s

reputation, loss of exclusivity, and loss of future sales. Monetary damages fail to address such

damage and, therefore, Toyota has an inadequate remedy at law. Moreover, the public interest is

served by entry of this Preliminary Injunction to dispel the public confusion created by

Defendants’ actions. As such, this Court orders that:

1.      Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

        and all persons acting for, with, by, through, under or in active concert with them be

        preliminarily enjoined and restrained from:

        a. using the TOYOTA Trademarks or any reproductions, counterfeit copies or colorable

           imitations thereof in any manner in connection with the distribution, marketing,

           advertising, offering for sale, or sale of any product that is not a genuine Toyota product

           or not authorized by Toyota to be sold in connection with the TOYOTA Trademarks;

        b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

           Toyota product or any other product produced by Toyota, that is not Toyota’s or not

           produced under the authorization, control or supervision of Toyota and approved by

           Toyota for sale under the TOYOTA Trademarks;




                                                 4
     Case: 1:23-cv-05874 Document #: 36 Filed: 09/26/23 Page 5 of 12 PageID #:1658




        c. committing any acts calculated to cause consumers to believe that Defendants’

           Unauthorized Toyota Products are those sold under the authorization, control or

           supervision of Toyota, or are sponsored by, approved by, or otherwise connected with

           Toyota;

        d. further infringing the TOYOTA Trademarks and damaging Toyota’s goodwill; and

        e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

           storing, distributing, returning, or otherwise disposing of, in any manner, products or

           inventory not manufactured by or for Toyota, nor authorized by Toyota to be sold or

           offered for sale, and which bear any Toyota trademark, including the TOYOTA

           Trademarks, or any reproductions, counterfeit copies or colorable imitations thereof.

2.      Upon Toyota’s request, any third party with actual notice of this Order who is providing

        services for any of the Defendants, or in connection with any of the Seller Aliases,

        including, without limitation, any online marketplace platforms such as eBay, Inc.

        (“eBay”), AliExpress, Alibaba Group Holding Ltd. (“Alibaba”), Amazon.com, Inc.

        (“Amazon”), ContextLogic Inc. d/b/a Wish.com (“Wish.com”), Walmart, Inc.

        (“Walmart”), Etsy, Inc. (“Etsy”), DHgate.com (“DHgate”), and WhaleCo, Inc. (“Temu”)

        (collectively, the “Third Party Providers”) shall, within seven (7) calendar days after

        receipt of such notice, provide to Toyota expedited discovery, including copies of all

        documents and records in such person’s or entity’s possession or control relating to:

        a. the identities and locations of Defendants, their affiliates, officers, agents, servants,

           employees, attorneys, confederates, and any persons acting in concert or participation

           with them, including all known contact information and all associated e-mail addresses;




                                                 5
     Case: 1:23-cv-05874 Document #: 36 Filed: 09/26/23 Page 6 of 12 PageID #:1659




        b. the nature of Defendants’ operations and all associated sales, methods of payment for

           services and financial information, including, without limitation, identifying

           information associated with the Online Marketplaces and Defendants’ financial

           accounts, as well as providing a full accounting of Defendants’ sales and listing history

           related to their Online Marketplaces; and

        c. any financial accounts owned or controlled by Defendants, including their affiliates,

           officers, agents, servants, employees, attorneys, confederates, and any persons acting

           in concert or participation with them, including such accounts residing with or under

           the control of any banks, savings and loan associations, payment processors or other

           financial institutions including, without limitation, PayPal, Inc. (“PayPal”), eBay,

           Alipay, Alibaba, Ant Financial Services Group (“Ant Financial”), Amazon Pay,

           Wish.com, DHgate, Walmart, Etsy, Temu, or other merchant account providers,

           payment providers, third party processors, and credit card associations (e.g.,

           MasterCard and VISA).

3.      Upon Toyota’s request, those with notice of the injunction, including the Third Party

        Providers as defined in Paragraph 2, shall within seven (7) calendar days after receipt of

        such notice, disable and cease displaying any advertisements used by or associated

        with Defendants in connection with the sale of counterfeit and infringing goods using

        the TOYOTA Trademarks.

4.      Defendants shall be temporarily and preliminarily restrained and enjoined from

        transferring or disposing of any money or other of Defendants’ assets until further ordered

        by this Court.




                                                 6
     Case: 1:23-cv-05874 Document #: 36 Filed: 09/26/23 Page 7 of 12 PageID #:1660




5.      Any Third Party Providers, including PayPal, eBay, Alipay, Alibaba, Ant Financial,

        Wish.com, DHgate, Walmart, Etsy, Temu, and Amazon Pay, shall, within seven (7)

        calendar days of receipt of this Order:

        a. locate all accounts and funds connected to Defendants’ Seller Aliases and Online

           Marketplaces, including, but not limited to, any financial accounts connected to the

           information listed in Schedule A hereto the e-mail addresses identified in Exhibit 3 to

           the Declaration of Teena Bohi, and any e-mail addresses provided for Defendants by

           third parties; and

        b. restrain and enjoin any such accounts or funds from transferring or disposing of any

           money or other of Defendants’ assets until further ordered by this Court.

6.      Toyota is authorized to issue expedited written discovery to Defendants, pursuant to

        Federal Rules of Civil Procedure 33, 34 and 36, related to:

        a. the identities and locations of Defendants, their affiliates, officers, agents, servants,

           employees, attorneys, confederates, and any persons acting in concert or participation

           with them, including all known contact information, including any and all associated

           e-mail addresses; and

        b. the nature of Defendants’ operations and all associated sales, methods of payment for

           services and financial information, including, without limitation, identifying

           information associated with the Online Marketplaces, and Defendants’ financial

           accounts, as well as providing a full accounting of Defendants’ sales and listing history

           related to their Online Marketplaces.




                                                   7
     Case: 1:23-cv-05874 Document #: 36 Filed: 09/26/23 Page 8 of 12 PageID #:1661




        Toyota is authorized to issue any such expedited discovery requests via e-mail. Defendants

        shall respond to any such discovery requests within three (3) business days of being served

        via e-mail.

7.      Toyota may provide notice of these proceedings to Defendants, including service of

        process pursuant to Fed. R. Civ. P. 4(f)(3) and any future motions, by electronically

        publishing a link to the Complaint, this Order and other relevant documents on a website

        and by sending an e-mail to the e-mail addresses identified in Exhibit 3 to the Declaration

        of Teena Bohi and any e-mail addresses provided for Defendants by third parties that

        includes a link to said website to Defendants. The Clerk of the Court is directed to issue a

        single original summons in the name of “The Partnerships and all other Defendants

        identified in the Complaint” that shall apply to all Defendants. The combination of

        providing notice via electronic publication and e-mail, along with any notice that

        Defendants receive from payment processors, shall constitute notice reasonably calculated

        under all circumstances to apprise Defendants of the pendency of the action and afford

        them the opportunity to present their objections.

8.      Schedule A to the Complaint [2], Exhibit 3 to the Declaration of Teena Bohi [15], and the

        TRO [22] are unsealed.

9.      Any Defendants that are subject to this Order may appear and move to dissolve or

        modify the Order as permitted by and in accordance with the Federal Rules of Civil

        Procedure and Northern District of Illinois Local Rules.




                                                 8
      Case: 1:23-cv-05874 Document #: 36 Filed: 09/26/23 Page 9 of 12 PageID #:1662




10.      The $10,000 bond posted by Toyota shall remain with the Court until a Final disposition

         of this case or until this Preliminary Injunction is terminated.



IT IS SO ORDERED.

Date: September 26, 2023


                                                ____________________________________
                                                Jeremy C. Daniel
                                                United States District Judge




                                                   9
Case: 1:23-cv-05874 Document #: 36 Filed: 09/26/23 Page 10 of 12 PageID #:1663



         Toyota Motor Sales, U.S.A., Inc. v. The Partnerships, et al. - Case No. 23-cv-5874


                                       Schedule A
                             Defendant Online Marketplaces
No.                            URL                                     Name / Seller Alias
 1    youstar.en.alibaba.com                                Guangzhou Youstar Technology Co., Ltd.
                                                            Guangzhou Youtes Electronic
 2    youtesi.en.alibaba.com                                Technology Co., Ltd.
 3    coolha.en.alibaba.com                                 Shenzhen Kuriharden Trading Co., Ltd.
 4    aliexpress.com/store/1101399263                       Kiddo Store
 5    aliexpress.com/store/1102928718                       Shiny Waves Store
 6    aliexpress.com/store/1102579237                       Shop1102579236 Store
 7    amazon.com/sp?seller=A3TGO80UXCLMJV                   (7-15) day the arrival
 8    amazon.com/sp?seller=A2SK1RE5OUDZIX                   A2SK1RE5OUDZIX
 9    amazon.com/sp?seller=A37CTMC301P3WR                   A37CTMC301P3WR
10    amazon.com/sp?seller=A282DPXWTOA2EN                   angzhouqingxin
11    amazon.com/sp?seller=A1I5B7XQI5T5AZ                   Auto Car Store
12    amazon.com/sp?seller=A3MQHUFVVO26P                    BLUECHARM
13    amazon.com/sp?seller=A31R4P22LMQBT5                   Foshan Zhou Surprise Trading Co.
14    amazon.com/sp?seller=A1JJFPNL9JJSY2                   gemingweidedianpu
                                                            guangzhoushaorangshangmaoyouxiango
15    amazon.com/sp?seller=AN8Z4BAD0CW24                    ngsi271
16    amazon.com/sp?seller=AVE8X2TQU5P6H                    haiyanmaoyi
17    amazon.com/sp?seller=A1ZPBZZF2CWWHK                   huangchaodedianpu12
18    amazon.com/sp?seller=A1KSM6GPTAFW8T                   HUANGYAN88
19    amazon.com/sp?seller=A56G90VOOXUGX                    HuJianbft
20    amazon.com/sp?seller=A17XDE5JMODASD                   iSuperguys
21    amazon.com/sp?seller=A1MCYA5XYUNTXH                   JUNYI AUTOPARTS
22    amazon.com/sp?seller=A2V9SU2EFP7YD3                   MaJher
23    amazon.com/sp?seller=A24QZJYRLEM0K9                   mingfouqijingpinxiaopu
24    amazon.com/sp?seller=A3PJAWT9MDUKLA                   Qonyv Auto
25    amazon.com/sp?seller=AIADIIM1JZQ0H                    Rarido
26    amazon.com/sp?seller=AX8DUY4NMX7E1                    RefitEco
                                                            shanxizongquanjunyanshangmaoyouxia
27    amazon.com/sp?seller=A2MKUIX0Z2JATC                   ngongsi
28    amazon.com/sp?seller=A3KZ37D8O88MOS                   Tcuisuy.
29    amazon.com/sp?seller=A1S21G4M5JQZY                    tianrenxindedian
30    amazon.com/sp?seller=AEEJHMIPY9GRO                    WangHaodedian
31    amazon.com/sp?seller=A16SV5TAFAZ0YR                   ZhangWenWenChengDuLu
                                                            zhijiangshizhuotingdianzishangwuyouxia
32    amazon.com/sp?seller=A3EKQ0WVZ13GVC                   ngongsi
33    dhgate.com/store/21904394                             buydhgate11 Store

                                                10
Case: 1:23-cv-05874 Document #: 36 Filed: 09/26/23 Page 11 of 12 PageID #:1664




34   dhgate.com/store/21705694                 dafu01 Store
35   dhgate.com/store/21874914                 joseph_store Store
36   dhgate.com/store/21733558                 qiuti18
37   DISMISSED                                 DISMISSED
38   ebay.com/usr/accoun488                    accoun488
39   DISMISSED                                 DISMISSED
40   ebay.com/usr/autodream_home               autodream_home
41   ebay.com/usr/autoli66                     autoli66
42   DISMISSED                                 DISMISSED
43   ebay.com/usr/businessseller_0             businessseller_0
44   ebay.com/usr/charmingglobal0              charmingglobal0
45   ebay.com/usr/cheech9                      cheech9
46   ebay.com/usr/do107222                     do107222
47   ebay.com/usr/easy-driv                    easy-driv
48   ebay.com/usr/effort-rageman               effort-rageman
49   ebay.com/usr/fast-furious                 fast-furious
50   ebay.com/usr/franli-75                    franli-75
51   DISMISSED                                 DISMISSED
52   ebay.com/usr/gameworldw                   gameworldw
53   ebay.com/usr/haly_auto                    haly_auto
54   ebay.com/usr/hamait-19                    hamait-19
55   ebay.com/usr/high-quality-service         high-quality-service
56   ebay.com/usr/huitengyue-5                 huitengyue-5
57   DISMISSED                                 DISMISSED
58   DISMISSED                                 DISMISSED
59   DISMISSED                                 DISMISSED
60   ebay.com/usr/liufei-6583                  liufei-6583
61   ebay.com/usr/maijiale                     maijiale
62   ebay.com/usr/nguy8220                     nguy8220
63   DISMISSED                                 DISMISSED
64   ebay.com/usr/parts-field                  parts-field
65   ebay.com/usr/parts-multi                  parts-multi
66   ebay.com/usr/pengjinzan3                  pengjinzan3
67   ebay.com/usr/phuluong_27                  phuluong_27
68   ebay.com/usr/pinegateinvestme0            pinegateinvestme0
69   ebay.com/usr/prich-auto                   prich-auto
70   DISMISSED                                 DISMISSED
71   ebay.com/usr/r-miraclestore               r-miraclestore
72   ebay.com/usr/small_target-auto            small_target-auto
73   ebay.com/usr/springtimeairc-0             springtimeairc-0
74   ebay.com/usr/taihungindustri0             taihungindustri0
75   DISMISSED                                 DISMISSED
76   DISMISSED                                 DISMISSED

                                         11
Case: 1:23-cv-05874 Document #: 36 Filed: 09/26/23 Page 12 of 12 PageID #:1665




77    DISMISSED                                    DISMISSED
78    DISMISSED                                    DISMISSED
79    DISMISSED                                    DISMISSED
80    ebay.com/usr/topsa25                         topsa25
81    DISMISSED                                    DISMISSED
82    ebay.com/usr/wenqiuna-3                      wenqiuna-3
83    ebay.com/usr/xuli003                         xuli003
84    ebay.com/usr/xuridongsheng                   xuridongsheng
85    ebay.com/usr/xxshch369ok                     xxshch369ok
86    ebay.com/usr/yuchao5_86                      yuchao5_86
87    ebay.com/usr/zhengqi828                      zhengqi828
88    ebay.com/usr/ziqidonglai                     ziqidonglai
89    temu.com/m-4707304459498.html                Car Emblem
90    temu.com/m-4926291799074.html                JSDauto
91    temu.com/m-5227627483780.html                Ok Auto Supplies
92    temu.com/m-5798577888684.html                OMO car
93    temu.com/m-871692141107.html                 Parity cart
94    temu.com/m-3618322973465.html                Simon Master
95    temu.com/m-6315382493458.html                xiangxiangchepin
96    temu.com/m-634418210847403.html              Zoe car stickers
97    wish.com/merchant/600be4f29550337d8355d345   Austin Alumni Association
98    wish.com/merchant/5dbdef7c29e78659bbad7c14   Bailamo123
99    wish.com/merchant/5f853448291f289910a732b0   chenqinlin520
100   wish.com/merchant/5d3d5910ab0c791fe5a592b7   chenzhibin1987
101   wish.com/merchant/5dc5285a950ccd0300537728   Filing susunten
102   wish.com/merchant/5d5fdec640defd028d023a60   goodfine
103   wish.com/merchant/646b43a0916a910ce14d4fa7   HeatherArt
104   wish.com/merchant/5e60be52cce71224c2138916   Hoyingya
105   wish.com/merchant/5da55d840e1e0f783628a081   IKOHJOLISDH
106   wish.com/merchant/5d8455fa2888351e9ad95fe1   jianhuaxie
107   wish.com/merchant/64193412e7888bf4e4245ea9   Little sunspot
108   wish.com/merchant/5d60d679273678644ead6a56   LLOUYANG
109   wish.com/merchant/60497b7798858410531eaaac   mayuanyuan1386
110   wish.com/merchant/5f70a7ab9da0170a316dc6cb   minghuahm6
111   wish.com/merchant/646b3ff1ec82bd66cfacf90a   prettypinkart
112   wish.com/merchant/589d79fe11660f78a2763e2d   qiuyun
113   wish.com/merchant/5d3c362683889702820d8d31   shining952
114   wish.com/merchant/5a2fb266a6b65c383ce6756b   SPower accessories
115   wish.com/merchant/5ab3451a9722334ebc6af4ea   wangwangliang
116   wish.com/merchant/5d3feece838897467d1449e4   zhouchuanshe
117   wish.com/merchant/5e33cfeffbba1f0c1b17b738   zhuidancuifeng




                                         12
